Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 1 of 15 Page ID #8

                                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     11/19/2021
                                                                                                     CT Log Number 540619220
  TO:         Kim Lundy- Email
              Walmart Inc.
              702 SW 8TH ST
              BENTONVILLE, AR 72716-6209

  RE:         Process Served in Illinois

  FOR:        Wal-Mart Stores, Inc. (Former Name) (Domestic State: DE)
              WALMART INC. (True Name)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                                 Re: ROLAPE DIANA L. // To: WALMART INC.
  DOCUMENT(S) SERVED:                              Summonses, Reply Envelope, Attachment(s), Complaint
  COURT/AGENCY:                                    Williamson County Circuit Court, IL
                                                   Case # 2021L143
  NATURE OF ACTION:                                Personal Injury - Failure to Maintain Premises in a Safe Condition - 07/09/2021 - city
                                                   of Marion, county of Williamson, state of Illinois
  ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Chicago, IL
  DATE AND HOUR OF SERVICE:                        By Process Server on 11/19/2021 at 02:12
  JURISDICTION SERVED :                            Illinois
  APPEARANCE OR ANSWER DUE:                        Within 30 days after service of this summons, not counting the day of service
  ATTORNEY(S) / SENDER(S):                         Stephen W. Stone
                                                   Howerton, Dorris, Stone & Lambert
                                                   300 West Main
                                                   Marion, IL 62959
                                                   618-993-2616
  REMARKS:                                         The documents received have been modified to reflect the name of the entity being
                                                   served.
  ACTION ITEMS:                                    CT has retained the current log, Retain Date: 11/20/2021, Expected Purge Date:
                                                   11/25/2021

                                                   Image SOP

  REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                   208 South LaSalle Street
                                                   Suite 814
                                                   Chicago, IL 60604
                                                   877-564-7529
                                                   MajorAccountTeam2@wolterskluwer.com
  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
  relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
  of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                     Page 1 of 2 / DP
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 2 of 15 Page ID #9

                                                                                                      Service of Process
                                                                                                      Transmittal
                                                                                                      11/19/2021
                                                                                                      CT Log Number 540619220
  TO:         Kim Lundy- Email
              Walmart Inc.
              702 SW 8TH ST
              BENTONVILLE, AR 72716-6209

  RE:         Process Served in Illinois

  FOR:        Wal-Mart Stores, Inc. (Former Name) (Domestic State: DE)
              WALMART INC. (True Name)




  advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
  therein.




                                                                                                      Page 2 of 2 / DP
        Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 3 of 15 Page ID #10


                                                                    Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Fri, Nov 19, 2021

Server Name:                  Sheriff Drop




Entity Served                 WALMART STORES INC

Case Number                   2021L143

J urisdiction                 IL




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Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 4 of 15 Page ID #11
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                                       STATE OF ILLINOIS
                ---- —IN THE CIRCUIT COURT OF THE FIRST JUDICIAL CIRCUIT
                                                                            RAM%
                                     WILLIAMSON COUNTY

  DIANA L. ROLAPE,

                      Plaintiff,

               VS.                                                   (Case No. 2021-L-147)

  WAL-MART STORES,INC.,

                      Defendant.

                                                         SUMMONS

  To each defendant:           Wal-Mart Stores, Inc. C/O C T Corporation System,_20_8_30.Lasalle_Street,.Sfe.
                               814, Chicago,IL 606t0

           You are summoned and required to file an answer in this case, or otherwise to file your appearance
  in the Office of the Clerk of this Court Williamson County Courthouse, 200 W. Jefferson, Marion, Illinois
  within 30 days after service of this summons, not counting the day of service. IF YOU FAIL TO DO SO,
  A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
  ASKED IN THE COMPLAINT.
 To the officer: COOK COUNTY SHERIFF
          This summons must be returned by the officer or other person to whom it was given for service,
 with indorsement ofservice and fees, ifany,immediately after service. Ifservice cannot be made,summons
 shall be returned so indorsed.
           This summons may not be served later than 30 days after its date.
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                JUDICIAL
                                                              By:
      71                                                                    (Deputy)
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          -                 •-
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                ,,,,,,,,, ,,,,,,
 STEPHEN W.STONE,#6204573
 HOWERTON,DORRIS,STONE & LAMBERT
 300 West Main
 Marion, IL 62959
 Phone: (618)993-2616
 Fax: (618)997-1845
 Attorneysfor Plaintiff
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 5 of 15 Page ID #12




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Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 6 of 15 Page ID #13


                                                                              FORE:,ER   USA




                            HOWERTON, DORRIS, STONE & LAMBERT
                            300 WEST MAIN
                            MARION, IL 62959
WD Document 1-2 Filed 03/18/22 Page




          COOK COUNTY SHERIFF'S OFFICE
          CIVIL DIVISION - DALEY CENTER
           50 W. Washington, Room 701
                Chicago, IL 60602
                 (312) 603-3365

    DATE: 11/10/2021                    TIME: 9:48 AM
 BATCH #: 80094                      TRANS #: 2
 CASHIER: ypierce

 CASE TYPE: LAW
 SHERIFF 0: 03567403
    CASE 0: 2021L143
 Check on Service after:                 11/3012021
 General Service Fee                               $50.00
 General Mileage Fee                               $10.00
          PAYMENT TOTAL:                           $60.00


 TRANSACTION TOTAL:                               $60.00

 TENDERED: Check                                  $60.00



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    NOW!!! Check ON-LINE for the status
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   When checking on service, have your
 Sheriff's Number or Case Number Available
  HOWERTON,DORRIS,STONE & LAMBERT
         Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 8 of 15 Page ID #15       4275
       Sheriff of Cook County                                          11/1/2021. .
 Date          Type Reference         Original Amt.   Balance Due        Discount     Payment
 1 1/1/2021     Bill  Rolape 21-121          60.00          60.00                       60.00
                                                                    Check Amount        60.00




                                                                            C_


' 1107-Advance Accou    summons                                                          60.00 -
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 9 of 15 Page ID #16




                             Service and Return                                                  $
  SHERIFF'S FEES 1           Miles
                             Total                                                               $
                                                             Signed

                                                                      Sheriff of                          County
  I certify that I, a qualified to serve summonses in the State of Illinois, served this summons on defendants as follows:
 (a) Individuals: Personal Service:
  [The officer, or other authorized person making service, shall(a) identify as to sex, race and approximate age of the
  person with whom the summons was left, and(b)state the place where (whenever possible in terms of an exact street
  address) and the date and time of the day when the summons and complaint were left with the defendant.]




 (b) Individuals: Abode Service
  By leaving a copy of the summons and the complaint at the usual place of abode of the individual defendant with a
  person of his family, age of 13 years or above, informing that person of the contents of the summons.
 [The officer, or other authorized person making service, shall (a) identify as to sex, race and approximate age of the
 person, other than the defendant, with whom the summons was left, and (b)state the place where(whenever possible
 in terms of an exact street address) and the date and time of day when the summons was left with such person.]




  And also by sending a copy of the summons and a copy of the complaint in a sealed envelope with postage fully
  prepaid, addressed to the individual defendant at his or her usual place of abode, as follows:
  Name of Defendant             Mailing Address                                                       Date of Mailing




 (c) Corporations
  By leaving a copy of the summons and a copy of the complaint with the registered agent, officer or agent of each
  defendant corporation, as follows:
 Defendant Corporation          Registered Agent, Officer or Agent(Name and Title and Address)        Date of Service




(d) Other Service/Public Corporations/Local Governmental Entities




                                                By:                                                  ,Deputy

                                                Sheriff of                                 County
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 10 of 15 Page ID #17




                                       STATE OF ILLINOIS
                      IN THE CIRCUIT COURT OF THE FIRST JUDICIAL CIRCUIT
                                     WILLIAMSON COUNTY

 DIANA L. ROLAPE,

                     Plaintiff,

           vs.                                                      Case No. 2021-L-143

 WAL-MART STORES,INC.,

                     Defendant.

                                                SUMMONS

 To each defendant:         Wal-Mart Stores, Inc. C/O C T Corporation System, 208 SO Lasalle Street, Ste.
                            814, Chicago, IL 60604

          You are summoned and required to file an answer in this case, or otherwise to file your appearance
 in the Office of the Clerk of this Court Williamson County Courthouse, 200W. Jefferson, Marion, Illinois
 within 30 days after service of this summons, not counting the day of service. IF YOU FAIL TO DO SO,
 A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
 ASKED IN THE COMPLAINT.
 To the officer: COOK COUNTY SHERIFF
          This summons must be returned by the officer or other person to whom it was given for service,
 with indorsement ofservice and fees, if any,immediately after service. Ifservice cannot be made,summons
 shall be returned so indorsed.
           This summons may not be served later than 30 days after its date.
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           *
               JUDICIAL
                                                   By:
     7F-        CIRCUIT 6  °2                                            (Deputy)
                            :=


 STEPHEN W.STONE,#6204573
 HOWERTON,DORRIS,STONE & LAMBERT
 300 West Main
 Marion, IL 62959
 Phone: (618)993-2616
 Fax: (618)997-1845
 Attorneysfor Plaintiff
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 11 of 15 Page ID #18




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Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 12 of 15 Page ID #19




                              Service and Return                                                  $
  SHERIFF'S FEES {            Miles
                             Total                                                                $
                                                             Signed

                                                                       Sheriff of                          County
  I certify that I, a qualified to serve summonses in the State of Illinois, served this summons on defendants as follows:
 (a) Individuals: Personal Service:
 [The officer, or other authorized person making service, shall (a) identify as to sex, race and approximate age of the
 person with whom the summons was left, and(b)state the place where (whenever possible in terms of an exact street
 address) and the date and time of the day when the summons and complaint were left with the defendant.]




 (b) Individuals: Abode Service
 By leaving a copy of the summons and the complaint at the usual place of abode of the individual defendant with a
 person of his family, age of 13 years or above,informing that person of the contents of the summons.
 [The officer, or other authorized person making service, shall (a) identify as to sex, race and approximate age of the
  person, other than the defendant, with whom the summons was left, and (b)state the place where (whenever possible
 in terms of an exact street address) and the date and time of day when the summons was left with such person.]




 And also by sending a copy of the summons and a copy of the complaint in a sealed envelope with postage fully
 prepaid, addressed to the individual defendant at his or her usual place of abode, as follows:
 Name of Defendant              Mailing Address                                                        Date of Mailing




(c) Corporations
 By leaving a copy of the summons and a copy of the complaint with the registered agent, officer or agent of each
 defendant corporation, as follows:
 Defendant Corporation           Registered Agent, Officer or Agent(Name and Title and Address)         Date of Service




(d) Other Service/Public Corporations/Local Governmental Entities




                                                By:                                                   , Deputy

                                                Sheriff of                                  County
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 13 of 15 Page ID #20
                                                                                                    FILE6
                                                                              Williamson Co. Circuit Cot+
                                                                               .       1st Judicial Circuit
                                                                               Date: 10/29/2021 3:03 Pre
                                                                                              Justin Maz0

            IN THE CIRCUIT COURT OF THE FIRST JUDICIAL CIRCUIT
                       WILLIAMSON COUNTY, ILLINOIS

DIANA L. ROLAPE,

              Plaintiff,

      VS.                                          Case No.20211,143

WAL-MART STORES,INC.

              Defendant.

                                   COMPLAINT

      NOW COMES the Plaintiff, Diana L. Rolape, by and through her attorneys,

Howerton, Dorris, Stone as Lambert, and for her complaint against Wal-Mart

Stores, Inc., states:

      1.      At all times relevant herein, Diana L. Rolape was a resident of

Marion, county of Williamson, state of Illinois.

      2.      At all times relevant herein, Wal-Mart Stores, Inc. was a corporation

headquartered in the state of Arkansas but does business in the state of Illinois,

including in the city of Marion, county of Williamson, state of Illinois.

      3.      Ingress and egress into the eastern-most entrance of the Marion

Wal-Mart are controlled by two consecutive sets of electronic doors, creating a

vestibule between the two sets of electronic doors.

      4.      To the east of the vestibule and also facing east is a garage-style

door, which Wal-Mart personnel use to re-stock the supply for shopping carts

available for customers entering through the eastern most entrance.

      5.      On July 9, 2021, Diana L. Rolape was a customer at Wal-Mart.


                                    Page,1 of 3
Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 14 of 15 Page ID #21




      6.    While Diana L. Rolape was standing in the vestibule herein

described, a Wal Mart employee pushed a collection of shopping carts into her,

knocking her to the ground.

      7.    As a result, Diana L. Rolape suffered injuries, incurred medical

expense, experienced pain, suffering, emotional distress, and temporary

disfigurement, and may suffer an increased risk of future harm.

      8.    The injuries and damages herein described were the result of

negligence of one or more of Wal Mart's employees:

            a.        failed to keep a careful lookout for where he was pushing
                      shopping carts;

             b.       failed to keep careful control of the shopping carts he was
                      pushing; and/or

            c.       failed to ensure the employee pushing shopping carts into the
                     vestibule was trained to be careful and cautious while
                     '
                     pushing shopping carts into the vestibule.

      9.    As a direct and proximate result of these negligent acts and/or

omissions to act, Diana L. Rolape suffered injuries and damages described

herein.

      WHEREFORE, your Plaintiff prays for judgment against the Defendant,

plus cost of suit.

                                 HOWERTON,DO         S, STONE          BERT


                                 By:
                                    -     ephen W. Stone, #."04573
                                        sstone®hdslawfirm.com
                                        Attorneysfor Plaintiff




                                    Page 2 of 3
 Case 3:22-cv-00565-DWD Document 1-2 Filed 03/18/22 Page 15 of 15 Page ID #22




                                        AFFIDAVIT

       The undersigned, being first duly sworn, pursuant to Illinois Supreme
Court Rule 222, upon oath deposes and says that I ax,p an attorney for the
plaintiff in the foregoing cause, and have authority to e cute this affidavit, and
that, to the best of my present knowledge the danj4es in thiszpiise might or
could exceed $50,000.00.




Subscribed and sworn to befor            this 11111 d   of   Riitr     , 2021.


          OFFICIAL SEAL
       SARAH ARVIEW                          bhc
 NOTARY PUBLIC STATE OF ILLINOIS    ,
 My Commission Expires 10-06-2024
           ID # 845221




 Stephen W. Stone, #6204573
 Howerton, Dorris Stone & Lambert
 300 West Main Street
 Marion, IL 62959
(618)993-2616
(618)997-1845 - fax
 Attorneysfor Plaintiff

                                        Page 3 of3
